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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                        DOC#
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ROYCE CORLEY,
                        Plaintiff,
                                                  15-cv-9621 (JGK)
            - against
                                                  ORDER OF SERVICE
HONORABLE BONNIE G. WITTNER, ET AL.,
                    Defendants.

JOHN G. KOELTL, District Judge:

     To allow the plaintiff to effect service on the Honorable

Bonnie G. Wittner, Michael J. Barry, Ports & Files, Inc., and

Cyrus R. Vance, Jr., John Temple, David Stuart, Greg Weiss, and

John Doe, through the U.S. Marshals Service, the Clerk of Court

is instructed to send one U.S. Marshal Service Process Receipt

and Return form ("USM-285 form")       for each defendant who has not

yet been served. Within thirty days of the date of this order,

the plaintiff must complete a USM-285 form for each defendant

and return those forms to the Court. It is the plaintiff's

responsibility to ensure that the summonses and complaint are

served within 90 days of the issuance of the summonses. The

summonses issued on May 25, 2016, are still effective.

SO ORDERED.

Dated:      New York, New York
            June 20, 2016




                                         United States District Judge
